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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA

ESSAM E. BABKKIR,                                  )
                                                   )
                Plaintiff,                         )
                                                   )     2:21-cv-00348-RJC
        vs.                                        )
                                                   )
OLGA V. SCHILK and DIEBOLD
NIXDORF,                                           )
                                                   )
                Defendants.                        )


                              HEARING MEMO/MINUTE ENTRY

Hearing Date: October 14, 2021
Time: 9:00 a.m. – 9:25 a.m.
Type of Conference: Telephonic Status Conference
Reporter: none
Deputy Clerk/Law Clerk: Tyler Klein (Tyler_Klein@pawd.uscourts.gov)


Counsel For Plaintiff                                  Counsel For Defendants
Andrew R. Rehmeyer, Esquire                            Savannah Marie Fox, Esquire
Joseph F. Butcher, Esquire


Orders, Remarks, Instructions

•   The Court held a Telephonic Status Conference to discuss issues that have arisen in discovery
    in this matter. The parties are hereby directed to meet and confer with respect to the
    outstanding discovery issues that were discussed during the status conference. To the extent
    that any of these outstanding issues cannot be resolved through the meet and confer process,
    any party may file a discovery motion with respect to such issues. The parties are directed to
    Judge Colville’s Standing Order and Procedures re: Civil Motion Practice for response and
    briefing deadlines for any such discovery motion. Should the parties reach agreement as to an
    appropriate protective order in this case, they may submit a joint proposed protective order for
    the Court’s consideration. To the extent that the parties cannot reach an agreement as to an
    appropriate protective order in this case, the parties may submit competing proposed protective
    orders for the Court’s consideration. The parties, whether individually or jointly, may move
    for an extension of the current discovery deadlines set forth at ECF No. 19 to the extent they
    believe discovery motion practice, or any other reason, warrants the same.
